Case 2:12-cv-07223-AB Document 1 Filed 12/28/12 Page 1 of 11
Case 2:12-cv-07223-AB Document 1 Filed 12/28/12 Page 2 of 11
Case 2:12-cv-07223-AB Document 1 Filed 12/28/12 Page 3 of 11
Case 2:12-cv-07223-AB Document 1 Filed 12/28/12 Page 4 of 11
Case 2:12-cv-07223-AB Document 1 Filed 12/28/12 Page 5 of 11
Case 2:12-cv-07223-AB Document 1 Filed 12/28/12 Page 6 of 11
Case 2:12-cv-07223-AB Document 1 Filed 12/28/12 Page 7 of 11
Case 2:12-cv-07223-AB Document 1 Filed 12/28/12 Page 8 of 11
Case 2:12-cv-07223-AB Document 1 Filed 12/28/12 Page 9 of 11
Case 2:12-cv-07223-AB Document 1 Filed 12/28/12 Page 10 of 11
Case 2:12-cv-07223-AB Document 1 Filed 12/28/12 Page 11 of 11
